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                            CARRIE SHERARD Digitally signed by CARRIE SHERARD
                                           Date: 2021.09.09 14:54:34 -04'00'
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